Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 1 of 8 PagelD: 21740

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
CAMDEN VICINAGE

IN RE: BENICAR (OLMESARTAN):
‘Master Docket No. 15-MDL2606(RBK-JS)

PRODUCTS LIABILITY LITIGATION:

 

ORDER TO ESTABLISH QUALIFIED SETTLEMENT FUND

THIS COURT, upon consideration of the following:

l. THIS MATTER HAVING come before the Court upon the Motion of Plaintiffs, by
Plaintiffs’ Negotiating Committee “PNC”, to approve an Order Establishing a Qualified
Settlement Fund as required under the Master Settlement Agreement, as amended (“MSA”), and
establishing ARCHER Systems, LLC as the Qualified Settlement Fund Administrator as selected
by the PNC and as authorized to do so under the MSA.

2. Under the terms of the MSA, as amended, Daiichi Sankyo has agreed to pay the
aggregate amount of $358,000,000 less the amount paid by Daiichi Sankyo to the Claims
Administrator for Administrative Expenses as the Settlement Funds into a Qualified Settlement
Fund established pursuant to the terms of the MSA.

3. By order of this Court, a Qualified Settlement Fund (“QSF”) shall be established
within the meaning of section 468B of the Internal Revenue Code of 1986, as amended (“Code”)

and Treasury Regulation sections 1.468B-1, et seg., and remain subject to the continuing
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 2 of 8 PagelID: 21741

jurisdiction of this Court until the funds in the QSF are distributed in their entirety or upon further
order of this Court, consistent with Treasury Regulation Section 1.468B-1(c)(1).

4. This Court has jurisdiction over this matter under Treas. Reg. Section 1.468B-
i(c)(1), which states in relevant part that a QSF “is established pursuant to an order of, or is
approved by, the United States, any state (including the District of Columbia), territory,
possession, or political subdivision thereof, or any agency or instrumentality (including a court of
law) . . . and is subject to the continuing jurisdiction of that governmental authority.”

5. PNC request that the Court approve the engagement of ARCHER Systems, LLC as
the administrator of the QSF (““QSF Administrator”). ARCHER possesses the requisite resources
and experience to properly and effectively set-up and administer the QSF. ARCHER’s address is
as follows: 1775 Saint James Place, Suite 200, Houston, Texas 77056. ARCHER submits
personally to the jurisdiction of this Court. ARCHER, as the QSF Administrator, will be
authorized to make distributions from the QSF consistent with the MSA and this Order. Should
ARCHER experience dissolution or bankruptcy, its appointment as QSF Administrator shall
terminate and PNC will seek Court approval of a successor QSF Administrator.

6. All “Settlement Funds” required to be paid by Daiichi Sankyo under the terms of
the MSA, will be deposited into the QSF, pursuant to that Agreement. Any tort liability of
Defendants to the Qualifying Program Claimants, as those terms are defined in the MSA, shall
terminate with its payments of the Settlement Funds into the QSF.

7. The QSF Administrator shall be empowered to take all actions as the QSF
Administrator deems necessary to assure that the QSF is treated as a “qualified settlement fund”
under Section 468B of the Internal Revenue Code and the Regulations promulgated pursuant

thereto. In the event that any terms of this Order shall at any time be considered cause for the
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 3 of 8 PagelID: 21742

Fund to fail to qualify as a “qualified settlement fund” per Section 468B of the Code together
with any and all Treasury Regulations and Internal Revenue Service notices, Announcements
and directives thereunder, such offending portion of this Agreement shall be considered null,
void, and of no effect, without any action by any court or by the QSF Administrator, so that this
Fund continues to qualify as a “qualified settlement fund” in compliance with Section 468B of
the Code and the applicable administrative authority and announcements thereunder. In the event
that this paragraph applies to render an offending Section null, void, or of no effect, the parties
shall so advise the Court and the remainder of this Agreement shall not be affected thereby, and
each remaining term and Section of the Agreement shall be valid and enforced to the fullest
extent permitted by law.

8. The Settlement Fund is the sole property of the QSF. No portion of the Settlement
Funds shall be made available to the Qualifying Program Claimants as determined under the MSA
in any fashion, except as specifically set forth in the MSA. Until such time as monies are
distributed from the QSF, the Qualifying Program Claimants and PNC shall not possess any rights
to demand or receive any portion of the Settlement Funds or to mortgage, pledge or encumber the
same in any manner. To the extent possible, this shall be construed so as to prevent the Qualifying
Program Claimants and PNC from being in constructive receipt, as determined under federal
income tax principles, of any amounts held by the QSF.

9. The Parties request that no bond be required, provided that all settlement proceeds,
which include all principal and interest earned thereon, shall be deposited in an account held in
custody at Huntington Bancshares Incorporated (the “Bank”), a financial institution with
headquarters in the state of New York for the benefit of, and titled in the legal name of, the

Olmesartan Qualified Settlement Fund. The Bank shall invest monies deposited pursuant to the
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 4 of 8 PagelD: 21743

instructions of the QSF Administrator. Such investments may be (a) with third parties in
instruments/securities comprised of United States Agency, Government Sponsored Enterprises or
Treasury debt securities or obligations (maturities not to exceed five years at a time of purchase)
or mutual funds invested solely in such instruments (average maturity not to exceed five years),
(b) with third parties in cash equivalent securities including SEC registered money market funds
and collateralized money market accounts; (c) in one or more checking accounts at the Bank up to
current FDIC insurance limits; and (d) certificates of deposit that are fully insured by the Federal
Deposit Insurance Corporation (“FDIC”) through use of the Certificate of Deposit Account
Registry Services (“CDARS”), and/or Insured Cash Sweep (“ICS”) pursuant to the CDARS/ICS
Deposit Placement Agreement with the Bank. The Bank shall be responsible for following the
written investment instructions of the QSF Administrator. The QSF Administrator shall be
responsible for ensuring that a principal preservation investment policy is implemented.
Notwithstanding the foregoing, the Bank shall not be allowed to distribute any income or principal
from the QSF except upon written instructions of the QSF Administrator, or, if requested, upon
the order of this Court upon the joint motion of the Parties. The QSF Administrator retains the
right to remove the Bank with or without cause, in its sole and absolute discretion. The QSF
Administrator may designate a replacement bank upon the written consent of PNC and this Court.
In the event of such replacement, the terms and conditions of this paragraph, including without
limitation, those addressing bond requirements, investments, and distributions from the QSF, shall
apply to any such replacement bank. The QSF Administrator shall not be liable for any losses as a
result of investing the Settlement Funds as directed by the Court. Any such losses shall not be
recoverable from the Parties, and the Parties shall have no responsibility for the QSF

Administrator’s performance. Any interest or investment income earned on the account(s) of the
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 5 of 8 PagelD: 21744

QSF shall inure to the benefit of the QSF and shall be used first to pay any taxes and tax return
administration/preparation costs for the QSF, and second, if there are any funds left over, to
contribute to payment of claims administration costs (including, without limitation, the expenses
of tax attorneys and accountants bank fees, wire fees, check stoppage fees, audits, and legal costs),
and any other costs associated with administration of the QSF. QSF Administrator shall direct any
and all payments of such interest or investment income and any interest accrued on the QSF
account.

10 The QSF Administrator shall disburse funds from the QSF in accordance with the
terms of the MSA and shall withhold from payments to the Qualifying Program Claimants the
amounts necessary for the common benefit fund and for the satisfaction of liens as required by the
MSA.

10. Within fifteen (15) days of the end of each calendar quarter, the QSF Administrator
will prepare and deliver QSF Statements (“Statements”) to the PNC and the Court (if requested).
The Statements shall include a statement of receipts, investment earnings, and disbursements. The
management of the QSF shall be subject to review by this Court.

11. QSF Administrator shall have the right to rely upon any affidavit, certificate, letter,
notice, electronic mail or other document believed by the QSF Administrator to be genuine and
sufficient, and upon any other evidence believed by the QSF Administrator, in its reasonable
judgment, to be genuine and sufficient, which may be provided to the QSF Administrator by the
PNC.

12. As provided by the terms of the MSA, Defendants, as defined in the MSA, and their
insurers shall in no way be responsible for the expenses of the QSF Administrator or the

administration of the Qualified Settlement Fund. Nor shall Defendants or their insurers in any way
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 6 of 8 PagelD: 21745

be associated with the administration of the Qualified Settlement Fund or have any liability with
regard to the conduct of the QSF Administrator or to the QSF itself. Further, upon payment of the
Settlement Funds as required by the Master Settlement Agreement, as amended, Defendants and
their insurers shall have no liability to the claimants under the MSA.

13. QSF Administrator shall be indemnified and held harmless by the PNC or any
claimants and/or their counsel, (current and/or future, as applicable) from any claims made by any
alleged lien holder, or other person or entity that attempts to assert a right of payment,
reimbursement or garnishment against the QSF. Should the QSF Administrator be named as a
party to, or threatened to be made a party to, any threatened, pending or completed action, suit or
proceeding of any kind, whether civil, administrative or arbitrative, and whether brought by or
against or otherwise involving the QSF, by reason of the QSF Administrator having served in any
capacity on behalf of the QSF, the QSF Administrator shall be indemnified and held harmless by
PNC, or any Qualifying Program Claimants (current and/or future, as applicable) against
reasonable expenses, costs and fees (including attorney fees), judgment, awards, costs, amounts
paid in settlement, and liabilities of all kinds incurred by the QSF Administrator in connection
with or resulting from such actual or threatened action, suit or proceeding; except to the extent that
it is finally determined by this Court that the QSF Administrator was negligent or acted with willful
misconduct in connection with the administration of the QSF.

13. The QSF, by and through the QSF Administrator, may purchase and assign any
structured settlements created under any release agreements with individual Qualifying Program

Claimants. Any structured settlement annuity contract shall be issued by a life insurance company
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 7 of 8 PagelD: 21746

that is rated A+ or better by A.M. Best Company.’ The claims made by individuals who suffered
{or will suffer) personal injury caused by defendant’s products are (or will be) made on account of
physical bodily injury and/or wrongful death and arise out of alleged liability in tort or violation
of law. Such Qualifying Program Claimants (and their attorneys, as applicable), shall agree in
writing to a discharge of the proceeds from the QSF and the QSF Administrator’s liabilities in the
making of any structured settlement payments, also known as periodic payments, by executing,
along with the QSF Administrator, any necessary documents required or related to the discharge
of those liabilities

14. Upon final distribution of all monies paid into the QSF, the QSF Administrator
shall take appropriate steps to wind down the QSF and, thereafter, be discharged from any further

responsibility with respect to the Settlement Payment.

DOES HEREBY ORDER that:

I, The Olmesartan Qualified Settlement Fund shall be established as a QSF within the
meaning of Treas. Reg. § 1.468B-1 and pursuant to the jurisdiction conferred on this Court by
Treas. Reg. § 1.468B-1(c)(1) and shall be a trust under state law. The QSF shall remain subject to
the continuing jurisdiction of this Court consistent with Treasury Regulation Section 1.468B-

I(c)(1).

 

' Structured Settlement Payments are assigned to a qualified assignee by entering into qualified
assignments of such structured settlement payments within the meaning of Section 130(c) of the
Code. The qualified assignee shall, respecting each person who is to receive periodic payments
under a settlement agreement, purchase one or more qualified funding assets within the meaning
of Section 130(d) of the Code to fund any structured settlement payments assigned to the qualified
assignee.
Case 1:15-md-02606-RBK-JS Document 1252 Filed 09/23/19 Page 8 of 8 PagelD: 21747

2. ARCHER Systems, LLC, is hereby appointed as QSF Administrator pursuant to
the terms, conditions, and restrictions of this Order, and is hereby granted the authority to conduct
any, and all activities necessary to administer and ultimately wind down the QSF as described
herein (including, without limitation, being authorized to make disbursements from the QSF
consistent with the MSA).

3. Huntington Bancshares Incorporated is hereby appointed as the financial institution
at which the QSF Administrator will establish bank and investment accounts for the QSF in
accordance with this Order. The PNC shall establish the account for the QSF at Huntington
Bancshares Incorporated and provide wire instructions, to Defendants, within three (3) days of the
entry of this Order.

4, This Order is subject to amendment by the Court sua sponte or upon application of
the Parties. This Court retains jurisdiction over all matters covered by, or related to, this Order.

SO ORDERED.

Date: Deydrodner LO, W006

Js DICE

 

HONORABLE ROBERT B. KUGLER

United States District Judge
